          Case 4:21-cv-04457-KAW Document 179 Filed 01/31/24 Page 1 of 1




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January 31, 2024




The Honorable Kandis Westmore
Northern District of California
1301 Clay Street
Oakland, California 94612


Re:       Wilbur P.G., et al. v. United States of America – Case No. 21-cv-04457-KAW


Dear Judge Westmore:

Plaintiffs have received the Order at Dkt. 178, vacating the February 1 hearing on Defendant’s
Motion for Miscellaneous Relief (Dkt. 160). Sara Fitzpatrick, an attorney who has practiced law
for fewer than four years, planned to argue the motion for Plaintiffs. See General Standing
Order ¶ 24.

Plaintiffs do understand that, even considering this information, the press of business may
preclude oral argument on this Motion. However, if in light of this information the Court is
inclined to hear argument on the Motion, whether tomorrow or at another time, Ms. Fitzpatrick
would present Plaintiffs’ oral argument.

Very truly yours,

KEKER, VAN NEST & PETERS LLP




Travis Silva

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